                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             MIDDLE DISTRICT OF TENNESSEE

OnSomble, Inc.,                             )       Case No. 3:16-cv-00493
                                            )       District Judge Waverly Crenshaw
        Plaintiff,                          )       Magistrate Judge Alistair Newbern
                                            )
v.                                          )
                                            )
Maria O’Rourke,                             )
                                            )
        Defendant.                          )
                                            )       JURY TRIAL DEMANDED

                      PLAINTIFF’S MOTION TO SUBSTITUTE COUNSEL

        Plaintiff OnSomble, Inc. hereby moves for the undersigned Edward D. Lanquist, Jr. and

Scott M. Douglass to be substituted as counsel of record for Plaintiff in place of John Tennyson.

Edward D. Lanquist, Jr. and Scott M. Douglass are admitted to practice in Tennessee and in this

Court and are attorneys in good standing. Defendant Maria O’Rourke has no objection to this

motion. Mr. Tennyson has been informed of the motion.

        Therefore, Plaintiff requests entry of an Order reflecting the substitution of Edward D.

Lanquist, Jr. and Scott M. Douglass as counsel for Plaintiff in this matter. A proposed order is

included herewith.

                                                Respectfully submitted,

                                                /s/ Edward D. Lanquist, Jr.
                                                Edward D. Lanquist, Jr. (BPR 13303)
                                                Scott M. Douglass (BPR 31097)
                                                Patterson Intellectual Property Law, P.C.
                                                Suite 500, Roundabout Plaza
                                                1600 Division Street

                                                1

     Case 3:16-cv-00493 Document 90 Filed 07/19/17 Page 1 of 3 PageID #: 1104
                                   Nashville TN 37203
                                   (615) 242-2400
                                   edl@iplawgroup.com
                                   smd@iplawgroup.com

                                   Attorneys for Plaintiff OnSomble, Inc.




                                   2

Case 3:16-cv-00493 Document 90 Filed 07/19/17 Page 2 of 3 PageID #: 1105
                                CERTIFICATE OF SERVICE

       I hereby certify that a true and exact copy of the foregoing PLAINTIFF’S MOTION TO

SUBSTITUTE COUNSEL was served via the Court’s CM/ECF system, in accordance with

LR 5.03 of the Local Rules of this Court, on July 19, 2017, upon all counsel of record including:

       Paul R. McAdoo
       Aaron Sanders PLLC
       810 Dominican Drive, Suite 208
       Nashville, TN 37228-1906
       paul@aaronsanderslaw.com

       Richard G. Sanders, Jr.
       Aaron Sanders PLLC
       810 Dominican Drive, Suite 208
       Nashville, TN 37228-1906
       rick@aaronsanderslaw.com

       John Tennyson
       Tennyson & Wiggington
       1800 West End Avenue, Suite 800
       Nashville, TN 37219
       jtennyson@nashville-law.com

                                                    /s/ Scott M. Douglass
                                                    Scott M. Douglass




                                                3

   Case 3:16-cv-00493 Document 90 Filed 07/19/17 Page 3 of 3 PageID #: 1106
